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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,

v.
                                                CIVIL ACTION FILE
                                                No. 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, et al.,

     Defendants.



                                    ORDER

        This matter is before the Court upon review of Defendants’ Status Report

Regarding Discovery. Doc. No. [221]. In said report, Defendants request,

inter alia, that Plaintiffs identify and produce a final list of declarants

supporting their claims of voter disenfranchisement or suppression. Id. at p. 7.

        Accordingly, Plaintiffs are ORDERED to identify and produce a final list

of said declarants to Defendants by 5:00 p.m. on Friday, February 14, 2020.

        IT IS SO ORDERED this 10th day of February, 2020.



                                       s/Steve C. Jones __________________
                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE
